B8 (Form 8) (12/08)
                                                                 United States Bankruptcy Court
                                                                         Eastern District of Michigan
 In re       Jeffrey Edward Pursey                                                                                Case No.
                                                                                          Debtor(s)               Chapter     7


                                  CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)

 Property No. 1

 Creditor's Name:                                                                          Describe Property Securing Debt:
 Bac Home Loans Servici                                                                    Location: 48175 Cedarwood Drive, Novi MI 48374

 Property will be (check one):
        Surrendered                                                            Retained

 If retaining the property, I intend to (check at least one):
          Redeem the property
          Reaffirm the debt
          Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                     Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                  Describe Leased Property:                      Lease will be Assumed pursuant to 11
 All America Storage                                             Storage Unit - Month to Month - Stores         U.S.C. § 365(p)(2):
                                                                 Tubing for fireworks displays                     YES              NO



I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date July 2, 2010                                                            Signature   /s/ Jeffrey Edward Pursey
                                                                                          Jeffrey Edward Pursey
                                                                                          Debtor




Software Copyright (c) 1996-2010 Best Case Solutions - Evanston, IL - bestcase.com                                                         Best Case Bankruptcy




                   10-61582-pjs                  Doc 6           Filed 07/02/10            Entered 07/02/10 12:42:36          Page 1 of 1
